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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION


UNITED STATES OF AMERICA

versus                                              CASE NO. 3:06CR30008-02

RICARDO GALLEGOS


                           ORDER APPOINTING INTERPRETER


         The Court, having been satisfied that the following individual has the qualifications

necessary to serve as an interpreter in this matter, it is hereby ORDERED that:


                                      ALVIN ROSENOW

be appointed as interpreter to assist in the arraignment and all other ancillary proceedings to be
held in this matter. Compensation for these services shall be paid by the Government. This

appointment is made pursuant to Rule 28 of the Federal Rules of Criminal Procedure.


         IT IS SO ORDERED. THUS DONE AND SIGNED at Monroe, Louisiana, this 11TH day

of April, 2006.
